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1                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
2                            SAN FRANCISCO DIVISION
3
     FEDERAL TRADE COMMISSION,
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                ,
5
           v.                                 3:23-cv-01710-AMO
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     INTERCONTINENTAL                         [PROPOSED] REVISED SCHEDULING
7    EXCHANGE, INC.,                          ORDER AS AMENDED
8    and                                      Judge:   Hon. Araceli Martínez-Olguín
9    BLACK KNIGHT, INC.,
10              s.
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1           At the parties’ joint request, the Court continued the preliminary injunction hearing in this

2    matter to August 14–15, 2023. ECF 270, 272. The Court granted the joint request particularly in

3    light of changed circumstances – Defendants Intercontinental Exchange, Inc.’s (“ICE”) and Black

4    Knight, Inc.’s (“Black Knight”) announcement of the planned divestiture of “Optimal Blue,” a

5    substantial element in the instant dispute. The Court further ordered the parties to submit a

6    proposed schedule governing revised prehearing submissions. ECF 271. Considering the changed

7    circumstances, the Court anticipates that the arguments and record for review have also changed,

8    potentially substantially. Rather than review supplemental briefing merely referring or citing to

9    earlier argument, the Court would prefer to review consolidated materials which fully include

10   arguments as the facts now stand. Accordingly, the Court grants the parties additional pages for

11   briefing than they originally proposed.

12          Having considered the parties’ submission, the Court SETS the following deadlines with

13   respect to the evidentiary hearing on the FTC’s claim for a preliminary injunction under Section

14   13(b) of the Federal Trade Commission Act and any defenses to that claim pursuant to Federal

15   Rule of Civil Procedure 16 and Civil Local Rule 16-10:

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                              Event                                           Deadline
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      Deadline to submit any supplemental or                  July 31, 2023
18    revised direct evidence through declarations,
      deposition designations, and exhibits.
19    Each side will notify the other side which witnesses    August 2, 2023
      that side intends to cross-examine during the
20    hearing.
21    Submission of simultaneous 1025-page opening            August 3, 2023
      briefs regarding the motion for preliminary junction
22    including discussion of the impact of the proposed
      Optimal Blue transaction
23    Each side will provide the other side with the          August 4, 2023
      availability of each witness who will appear for
24    cross-examination.
25    Parties that intend to offer as evidence any new        August 4, 2023
      materials (i.e., not previously addressed by in-
26    camera motions) designated as confidential by an
      opposing party or non-party shall provide notice to
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      the opposing party or non-party by this date.
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      Submission of simultaneous, optional 510-page            August 7, 2023
2     response briefs regarding the motion for
      preliminary junction including discussion of the
3     impact of the proposed Optimal Blue transaction
      Deadline to submit joint statement (1) identifying       August 7, 2023
4     each witness each party intends to call, the subject
      matter of the testimony, and the anticipated length
5
      of the examination; and (2) a list identifying each
6     exhibit each party intends to offer at the evidentiary
      hearing through a witness declaration or live
7     testimony. This list will also identify which exhibits
      are subject to a confidentiality designation and
8     where on the docket the Court can locate a motion
9     for in camera treatment, if any, or a declaration in
      support of sealing as required by Local Rule 79-5.
10    Deadline to file motions for in camera treatment of      August 7, 2023
      proposed hearing exhibits.
11    Deadline to file responses to motions for in camera
      treatment of any proposed hearing exhibits not           August 8, 2023
12
      covered by previous in camera motions.
13    Pre-hearing conference                                   August 9, 2023 at 11:00 a.m.
      Evidentiary hearing on Plaintiff’s Motion
14    begins. The parties will cross-examine witnesses,
      as well as redirect them. The parties are limited to
15                                                             August 14 at 9:00 a.m.
      8 hours per side, to be utilized however they
      choose; however, the parties are encouraged to
16
      secure advance declarations of witnesses where
17    possible to save time in court.
      Deadline to submit post-hearing proposed findings
18    of fact and conclusions of law. Each side’s post-
                                                               August 21, 2023
      hearing proposed findings of fact and conclusions
19    of law shall not exceed 75 50 pages.
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21   IT IS SO ORDERED.

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     Dated: July 20, 2023                                  _____________________________
23                                                         ARACELI MARTÍNEZ-OLGUÍN
                                                           United States District Judge
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